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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN


ROBERT CARLSON, Personal
Representative of the Estate of
Craig Carlson,                                 HONORABLE PAUL L. MALONEY

       Plaintiff,                              Case No. 1:08-cv-991

v.

SCOTT FEWINS, et al.,

       Defendants,
_________________________/



            ORDER REGARDING SETTLEMENT CONFERENCE

      The parties will appear before Magistrate Judge Phillip J. Green for a

settlement conference on August 2, 2018, at 9:00 a.m. The conference shall take

place in Courtroom 601, Federal Building, 110 Michigan St. N.W., Grand Rapids,

Michigan. Individual clients shall accompany trial counsel to the conference.

Defendant County of Grand Traverse will be represented at the conference, in

person, by a representative of the County Commission with authority to negotiate a

settlement. If the defense is controlled by an insurance company, a representative

of the insurer shall also be present, in person, at the conference. Failure of

counsel to be accompanied by an appropriate client representative with

actual authority to settle may result in the imposition of sanctions or a

citation for contempt of court.
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       Three business days before the conference, each attorney shall submit to me

a confidential letter concerning settlement. A copy need not be provided to any

other party. All information in the settlement letter shall remain confidential and

will not be disclosed to any other party without the approval of the writer. The

confidential settlement letter shall set forth: (a) the name and title of the party

representative who will be present at the settlement conference, with counsel’s

certification that the representative will have full authority to settle, without the

need to consult with any other party; (b) a very brief explanation of the nature of

the case, including an identification of any parties added or dismissed since the

time of filing; (c) a history of settlement negotiations to date, including all offers,

demands and responses (the letter should not, however, divulge any offer made in

the context of a voluntary facilitative mediation); (d) the policy limits of any

relevant insurance coverage; (e) the limits on settlement authority given to counsel

by the client; (f) that party's suggestions concerning the most productive approach

to settlement; (g) any other matter that counsel believes will improve the chances

for settlement. Failure of counsel to submit the ordered confidential letter

concerning settlement may result in the imposition of sanctions or a

citation for contempt of court.




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      All settlement letters shall be sent via facsimile to the offices of Magistrate

Judge Green at (616) 456-2074; they should not be directed to the Clerk's

Office or e-filed in the case.

      IT IS SO ORDERED.


Date: July 24, 2018                                   /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge




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